 

Case 4:16-cv-01414 Document 637 Filed on 08/22/19 in TXSD Page 1 of 5

United States Courts
Southern District of Teva

FILED
IN THE UNITED STATES DISTRICT COURT AUG 22 2019
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION David J. Bragioy, Clerk of Cour

MARANDA LYNN ODONNELL, et al. § CIVIL ACTION NO.
§ 4:16-cv-01414

V. §
§
§

HARRIS COUNTY, TEXAS, et al.,

 

CHIEF OF POLICE JOSH BRUEGGER’S STATEMENT REGARDING PROPOSED
CONSENT DECREE

 

COMES NOW JOSH BRUEGGER, Chief of Police of the City of Pasadena, and submits
his statement in response to the proposed Consent Degree in the above-styled matter and his
interest in this matter pursuant to the provision in the proposed Consent Decree, which states: it
“is binding on those who are in active concert or participation with the Parties or the Parties’

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officers, agents, servants, employees or attorneys,” which could reasonably be interpreted to
include a law enforcement agency such as my Police Department and its staff. Proposed Consent

Decree at | 16.

L The Consent Decree fails to provide proper due process to those affected by its
implementation.

I recently received a copy of the proposed Consent Decree and notice of a hearing in
Federal Court on September 19, 2019, concerning the decree.

I believe any signing of this Consent Decree should be rejected at this point to allow for
sufficient notice to, and a better opportunity to be heard by, any potentially affected third parties.
This proposed Consent Decree is a serious matter which could have a major impact on the

operation of my department and others. I am very concerned about its possible impact on public
Case 4:16-cv-01414 Document 637 Filed on 08/22/19 in TXSD Page 2 of 5

safety, police officers, budgetary burdens and other issues. I believe actions of the Texas
Legislature should also be considered.

I. The Consent Decree gives little consideration to the future safety of victims and
communities.

The proposed Consent Decree presents significant concerns with respect to the safety of
victims and communities. The unreasonable process of obtaining a warrant for an arrestee who
consistently fails to appear before the court creates an unreasonable obstruction to law enforcement
in preventing that same arrestee from potentially reoffending.

The proposed Consent Decree states that a misdemeanor arrestee may reschedule a first or
regular setting after a warrant for nonappearance has issued twice without risking arrest. In such
circumstances, the warrant for nonappearance shall be recalled. Consent Decree at § 69(a). The
decree fails to take into account that while many defendants simply fail to appear and continue
about their daily affairs, others become fugitives bent on avoiding the justice system entirely. The
reality of this provision is that an arrestee can potentially not appear in court for weeks on end
simply by rescheduling, thereby creating ample opportunity for the arrestee to commit another
similar or more dangerous offense. This will most certainly impact the safety of local communities
and victims, while making law enforcement’s job more challenging than it already is.

Moreover, this proposed decree does very little to mitigate frequent nonappearance by
arrestees. Most of the provisions that speak to the process of issuing a warrant after nonappearances
create no real sense of urgency or consequence for the arrestee to actually appear and they establish
a perpetual environment where the arrestee plays the only dominant role in the judicial process,
instead of striking the balance of interests shared among the arrestee, the courts, law enforcement

and the public.
Case 4:16-cv-01414 Document 637 Filed on 08/22/19 in TXSD Page 3 of 5

As the proposed settlement agreement currently stands, in a routine misdemeanor arrest,
an arrestee can potentially perform all of the following actions from the time they are arrested to
the time they actually appear in court: a) waive their initial appearance, b) reschedule twice for
any reason with no consequences, whether or not a waiver of appearance was had, c) receive a
warrant for rescheduling twice, but can be recalled if good cause is provided, d) again reschedule
a hearing during the week of “Open Hours Court”, without arrest or adverse consequences, e) can
reschedule a first setting or regular setting after a warrant for nonappearance has issued twice
without arrest and entitled to recall of the warrant and lastly, if the arrestee still hasn’t made an
appearance, and f) appear in the assigned court or “Open Hours Court,” with the ability to be seen
that day or a later date. Proposed Consent Decree at { 65(a), 66(a)(b), 67(a), 68(a), 69(a)(b).

How does this delayed process safeguard the public’s interest in keeping their communities
safe from individuals that are at large and have engaged in serious misdemeanor crimes, such as
unlawful carrying of a weapon?

III. The Consent Decree is a financial burden to the Pasadena Police Department and
endangers the public.

Of utmost concern to my department is that the proposed Consent Decree’s remedies are
so extensive and that, without proper evaluation, they impose significant detrimental impact on
the police budget for overtime and pay for police officers to attend evidentiary bail hearings, taking
time from other police functions. The cost of this to the City is likely to be enormous and will
certainly unnecessarily and significantly increase law enforcement expenditures by the Pasadena
Police Department. Attendance at these evidentiary bail hearings will also take police officers off
the streets, thereby further endangering the public. Again, this was all done without any
consultation or inclusion of the Pasadena Police Department in the process that led to the consent

decree.
Case 4:16-cv-01414 Document 637 Filed on 08/22/19 in TXSD Page 4 of 5

IV. The Consent Decree neutralizes the purpose and effectiveness of bail.

Many of the stakeholders involved in the administering of criminal justice, inclusive of law
enforcement, are proponents of this Court’s finding that indigent misdemeanor arrestees should
not be detained purely because of their inability to pay bail. ODonnell v. Harris Cty., 892 F.3d
147,158 (5" Cir. 2018). However, this same Court has also emphasized that since bail is not purely
defined by what the detainee can afford, the constitutional provision forbidding denial of release
on bail for misdemeanor arrestees does not create an automatic right to pretrial release. [d.

An important factor that courts have indicated should be assessed in conjunction with a
detainee’s ability to pay bail is the nature and circumstances of the alleged offense and the safety
of the alleged victim and community. Ex parte Anderer, 61 S.W.3d 398 (Tex. Crim. App. 2001).
This proposed decree provides very nominal consideration to this point by demonstrating a
position that an arrestee is essentially entitled to automatic release for just about any crime, unless
it falls within a very narrow categorized list of offenses. Proposed Consent Decree at § 30. Given
this, the security of bail as an effective deterrent mechanism for high risk individuals is no more
and arrestees will be given a blanket cover that they are ‘‘not a threat to public safety.”

V. The Consent Decree needs more stringent, accountable pretrial release policies to
prevent putting the public at risk.

Public safety and victims’ rights must always be a primary consideration any time criminal
justice and pretrial release reforms are on the table. The proposed Consent Decree permits a judge
to modify conditions of a pretrial release of an arrestee in situations where an arrestee has missed
prior scheduled court appeareances and even encourages, where practicable, avoidance of arrest,
booking and jailing. Proposed Consent Decree at § 69(b).

This is a precarious proposition to take as allowing judges to modify pretrial conditions to

potentially provide even more flexibility for the arrestee further exacerbates the problem of an

4
Case 4:16-cv-01414 Document 637 Filed on 08/22/19 in TXSD Page 5 of 5

arrestee’s nonappearance in court and is not consistent with the guidance set forth in Article 17.40
of the Texas Code of Criminal Procedure. If the arrestee is already failing to appear in court,
creating an environment where judges are constantly making allowances for the arrestee would
logically provide no incentive for him to appear, thereby giving him an opportunity to engage in
more criminal activity and potentially put the public at greater risk. Pretrial conditions that would
require reasonable supervision and monitoring of the arrestee throughout the pretrial process
would do more in making a significant impact to public safety than what is currently being
proposed.
VI. Conclusion

Bail reform policies must always ensure that indigent individuals that are arrested are
provided their equal protection/due process rights and not fall victim to “wealth-based detention.”
However, a just and meaningful model of bail reform should incorporate advocacy for officer and
public safety, while providing courts with safe alternatives in dealing with defendants who pose a
real danger to communities.
In the interest of justice, including due process, a settlement, if any, in this cause should not be
considered or approved by the Court, unless and until all affected governmental entities, officials,
and employees have had a fair opportunity to evaluate this entire matter pending before the Court.

This proposed Consent Decree should be rejected at this point.

Respectfully Oh)
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JO RUEGG

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